Electronically FILED by Superior Court of California, County of Los Angeles on 04/03/2020 04:31 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                  20STCV13253
                  Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 1 of 37 Page ID #:13
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Fruin
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 2 of 37 Page ID #:14
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 3 of 37 Page ID #:15
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 4 of 37 Page ID #:16
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Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 6 of 37 Page ID #:18
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 7 of 37 Page ID #:19
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Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 9 of 37 Page ID #:21
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 10 of 37 Page ID #:22
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 11 of 37 Page ID #:23
             Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 12 of 37 Page ID #:24

Electronically FILED by Superior Court of California, County of Los Angeles on 05/11/2020 06:46 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk


                    1     SERGIO A. GUTIERREZ (State Bar No. 184850)
                          LAW OFFICE OF SERGIO ALEXANDER GUTIERREZ
                    2     18032 Lemon Drive, C 122
                          Yorba Linda, California 92886
                    3     Tel: (714)575-1111
                          Fax: (714) 575-1121
                    4

                    5     Attorney for Plaintiff David Ramirez

                    6                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    7                               FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

                    8
                    9       DAVID RAMIREZ,
                  10                                                                          CASE NO.: 20STCV13253

                  11                                                                          Unlimited Jurisdiction
                                                               Plaintiff,
                  12                                                                          First Amended Complaint for Damages For:
                            vs.
                  13                                                                          1.          Wrongful Termination in Violation of Public
                                                                                                          Policy;
                            XPO FREIGHT LOGISTICS, INC.;                                      2.          Age Discrimination in Violation of Govt.
                  14        XPO LOGISTICS, INC.;                                                          Code §12940(a);
                            WENDY MAIRENA and                                                 3.          Retaliation in Violation of Govt. Code §§
                  15        DOE 1-100, inclusive,                                                         12940 et seq.;
                  16                                                                          4.          Failure to Provide and or Allow Inspection of
                                                                                                          Personnel File and Payroll Records in
                                                               Defendants.                                Violation of Lab. Code §§ 226, 432 and
                  17
                                                                                                          1198.5; and,
                   18                                                                         5.          Defamation.

                  19                                                                          DEMAND FOR JURY TRIAL

                  20

                  21
                  22

                  23

                  24

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                  26

                  27                                                      First Amended Complaint for Damages
                  28                                                                               I of II
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   1        Plaintiff, David Ramirez, ("Ramirez" or "Plaintiff') states and alleges as follows:

   2

   3   1.          Plaintiff David Ramirez is an individual, and at all times mentioned herein was a

   4        employed by Defendant XPO Logistics Freight, Inc. and/or Defendant XPO Freight, Inc.,

   5        which operate and employed Plaintiff in the County of Los Angeles, State of California.
   6

   7   2.          Plaintiff is informed, believes, and based thereon alleges that Defendant XPO

   8        Logistics Freight, Inc. ("XPO Logistics") engages in business in the County of Los Angeles

   9        with it's a place of business in Sante Fe Springs, California.

  10

  11   3.          Plaintiff is informed, believes, and based thereon alleges that Defendant XPO

  12        Freight, Inc. ("XPO Freight") engages in business in the County of Los Angeles with it's a

  13        place of business in Sante Fe Springs, California. Defendants XPO Logistics Freight, Inc.
  14        and Defendant XPO Freight, Inc. will be referred to collectively as "XPO."

  15

  16   4.          Plaintiff is informed, believes, and based thereon alleges that Defendant Wendy

  17        Mairena ("Mairena") is an individual, and at all times mentioned herein was a employed by
  18        Defendant XPO and resided in the County of Los Angeles, State of California.

  19

  20   5.          The true names, identities, and or capacities of Defendants sued herein as DOE 1-

  21        100, inclusive, are currently unknown to Plaintiff, who therefore sues said Defendants by
  22        such fictitious names. Plaintiff is informed, believes, and based thereon alleges that DOE I-
  23        I 00 are, in part, responsible for the damages sustained by Plaintiff as alleged herein. When
  24        the true names, identities and or capacities of these Defendants are known, Plaintiff will seek
  25        leave of Court to amend this Complaint.
  26

  27                                First Amended Complaint for Damages
  28                                                2 of 11
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 14 of 37 Page ID #:26



   1

   2   6.          Plaintiff is informed, believes, and based thereon alleges that each Defendant named

   3        herein acted as an employee, agent, partner, alter ego and or joint venturer of each of the

   4        other Defendants named herein, and in doing the acts and in carrying out the wrongful

   5        conduct alleged herein, each of said Defendants acted within the scope of said relationship

   6        and with permission, consent and ratification of each of the other Defendants named herein.

   7

   8   7.          Mr. Ramirez was employed by XPO and Doe 1- 90, inclusive, beginning in or about

   9        1999 until September 3, 2019 when his employment was terminated.

  10

  11   8.          Throughout his employment with XPO and Doe 1- 90, inclusive, Mr. Ramirez

  12        performed all terms, conditions, duties and work required of him. Throughout most of his

  13        employment with XPO and Doe 1- 90, inclusive, Mr. Ramirez regularly received praise and

  14        recognition for his performance. His work performance was rated exceptional throughout

  15        most of his employment. He was never reprimanded or written up.

  16

  17   9.          Plaintiff is informed, believes, and based thereon alleges that Defendant XPO,

  18        Defendant Mairena and other supervisors employed by them, engaged in conduct and a

  19        scheme to end the employment of older employees by, among other things, making the

  20        working conditions so intolerable that employees would leave or take retirement.

  21

  22                                        First Cause of Action
  23                       (Wrongful Termination in Violation of Public Policy.)
  24                                    Against Defendant XPO and
  25                                      and Doe 1 - 90, inclusive.
  26

  27                                First Amended Cotnplaint for Damages
  28                                                3 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 15 of 37 Page ID #:27



   1
   2   IO.          Plaintiff hereby rea lieges, and incorporates by reference as though set forth fully
   3         herein the allegations contained in Paragraphs I through 11. This cause of action is plead
   4         Defendant XPO and ·ooe 1- 90, inclusive.

   5
   6   II.          Plaintiff alleges that his tennination was wrongful because it was in violation of the

   7         public policy of the State of California. Plaintiff's termination was based on the following:
   8                (I) Plaintiff's age; and

   9                (ii) in retaliation for complaining discriminatory comments and treatment.
  10
  11   12.          As a direct, foreseeable and proximate result of Defendant XPO and Doe 1- 90,

  12         inclusive, Plaintiff has lost and will continue to lose income and benefits, and has suffered
  13         and continues to suffer humiliation, embarrassment, mental and emotional distress, and

  14         discomfort all to Plaintiffs damage in an amount in excess of$1,250,000.00, the precise
  15         sum to be established according to proof.
  16
  17   13.          Because the acts taken toward Plaintiff were carried out by managerial employees,

  18         who were acting in deliberate, cold, callous, malicious, oppressive, and intentional manner
  19         in order to injure and damage Plaintiff, Plaintiff request the assessment of punitive damages
  20         against Defendant XPO and Doe I- 90, inclusive, in an amount appropriate to punish and
  21         make an example of Defendant XPO and Doe 1- 90, inclusive.
  22
  23   14.          WHEREFORE, Plaintiff prays for relief as set forth below.

  24
  25
  26
  27                                First Amended Complaint for Damages
  28                                                 4 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 16 of 37 Page ID #:28



   1                                        Second Cause of Action
   2                             (Age Discrimination (Govt. Code §12940(a).)
   3                          Against Defendant XPO and Doe l - 90, inclusive.
   4

   5   15.          Plaintiff hereby realleges, and incorporates by reference as though set forth fully
   6         herein the allegations contained in Paragraphs 1 through 14. This cause of action is plead
   7         Defendant XPO and Doe 1- 90, inclusive.
   8

   9   16.          At all times relevant to this Complaint, California Government Code§ 12900 et seq.

  10         and its implementing regulations was in full force and effect.
  11

  12   17.          Pursuant to Government Code§ 12940(a) it is unlawful for an employer to

  13         discriminate against an employee because of that employee's age.

  14

  15   18.          Defendant XPO and Doe 1-90, inclusive, violated Government Code§ 12940(a), by,

  16         among other things, terminating Plaintifrs employment based on his age and for resisting
  17         and complaining about discriminatory comments and treatment.
  18

  19   19.          As a direct, foreseeable and proximate result of Defendant XPO and Doe 1- 90,

  20         inclusive, wrongful termination of Plaintiff in violation of public policy of the State of
  21         California, Plaintiff has lost and will continue to lose income and benefits, and has suffered
  22         and continues to suffer humiliation, embarrassment, mental and emotional distress, and
  23         discomfort all to Plaintiff's damage in an amount in excess of$ I ,250,000.00, the precise
  24         sum to be established according to proof.
  25
  26

  27                                 First Atnended Complaint for Damages
  28                                                 5 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 17 of 37 Page ID #:29



       20.          Because the acts taken toward Plaintiff were carried out by managerial employees,

   2         who were acting in deliberate, cold, callous, malicious, oppressive, and intentional manner

   3         in order to injure and damage Plaintiff, Plaintiff request the assessment of punitive damages
   4         against Defendant XPO and Doe I- 90, inclusive, in an amount appropriate to punish and

   5         make an example of Defendant XPO and Doe 1- 90, inclusive.

   6

   7   21.          Plaintiff has also incurred and continues to incur attorneys' fees and legal expenses in
   8         an amount according to proof at the time of trial.

   9

  10   22.          Within one year of the date of the discrimination committed by Defendant XPO and

  11         Doe 1 - 90, inclusive, Plaintiff filed charges of discrimination as against Defendants with the
  12         California Department of Fair Employment and Housing (hereafter DFEH).
  13

  14   23.          The DFEH issued to plaintiff, a notice of right to bring a civil action against

  15         Defendants. A copy of this notice of Right-To-Sue is appended hereto, marked "Exhibit A"
  16         and is incorporated by this reference as though fully set forth.
  17

  18   24.          WHEREFORE, Plaintiff prays for relief as set forth below.

  19

  20                                         Third Cause of Action
  21                         (Retaliation (Gov. Code§ 12940(h) and 12945.2 (I))
  22                          Against Defendant XPO and Doe 1- 90, inclusive.
  23

  24   25.          Plaintiff hereby realleges, and incorporates by reference as though set forth fully

  25         herein the allegations contained in Paragraphs 1 through 24. This cause of action is plead
  26

  27                                 First Amended Complaint for Damages
  28                                                  6 of 11
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 18 of 37 Page ID #:30



   1         Defendant XPO and Doe 1- 90, inclusive.

   2

   3   26.            This action is brought pursuant to section 12940, subparagraph (h), of the

   4         Government Code, which prohibits discrimination against any person who has opposed any

   5         practices forbidden under this part or because the person has filed a complaint, testified, or

   6         assisted in any proceeding under this part.

   7

   8   27.            Within one year of the date of the discrimination committed by Defendant XPO and

   9         Doe 1- 90, inclusive, and each of them, Plaintiff filed charges of discrimination as against

  10         Defendants with the California Department of Fair Employment and Housing (hereafter

  11         DFEH).

  12

  13   28.            The DFEH issued to plaintiff, a notice of right to bring a civil action against

  14         Defendants. A copy of this notice of Right-To-Sue is appended hereto, marked "Exhibit A,"

  15         and is incorporated by this reference as though fully set forth.

  16

  17   29.            Defendant XPO and Doe 1- 90, inclusive, conduct as alleged in this complaint

  18         constitutes an unlawful employment practice in violation of Government Code§§ 12940 et

  19         seq ..

  20

  21   30.            As a direct, foreseeable and proximate result of Defendant XPO and Doe 1- 90,

  22         inclusive, wrongful termination of Plaintiff in violation of public policy of the State of

  23         California, Plaintiff has lost and will continue to lose income and benefits, and has suffered

  24         and continues to suffer humiliation, embarrassment, mental and emotional distress, and

  25         discomfort all to Plaintiff's damage in an amount in excess of$1,250,000.00, the precise

  26

  27                                  First Amended Complaint for Damages
  28                                                   7 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 19 of 37 Page ID #:31



   1         sum to be established according to proof.

   2

   3   31.          Because the acts taken toward Plaintiff were carried out by managerial employees,

   4         who were acting in deliberate, cold, callous, malicious, oppressive, and intentional manner

   5         in order to injure and damage Plaintiff, Plaintiff request the assessment of punitive damages

   6         against Defendant XPO and Doe 1-90, inclusive, in an amount appropriate to punish and

   7         make an example of Defendant XPO and Doe 1- 90, inclusive.

   8

   9   32.          WHEREFORE, Plaintiff prays for relief as set forth below.

  10

  11                                         F ourtb Cause of Action

  12   (Failure to Provide and or Allow Inspection of Personnel File and Payroll Records in Violation

  13                                 of Lab. Code§§ 226,432 and 1198.5.)

  14                          Against Defendant XPO and Doe 1- 90, inclusive.
  15

  16   33.          Plaintiff hereby realleges, and incorporates by reference as though set forth fully

  17         herein the allegations contained in Paragraphs 1 through 32. This cause of action is plead

  18         against Defendant XPO and Doe 1- 90, inclusive.

  19

  20   34.          This action is brought pursuant to sections 226, 432 and 1198.5 of the Labor Code,

  21         which provides the right to inspect their personnel file and to receive copies of documents

  22         signed by the employee as well as payroll related documents.

  23

  24   35.          Plaintiff requested the opportunity to review his personnel file and or obtain copies of

  25         the personnel file as well as copies of her pay roll records.
  26

  27                                 First Amended Complaint for Damages
  28                                                  8 of 11
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 20 of 37 Page ID #:32




   2   36.          Defendant XPO and Doe 1- 90, inclusive, have failed to timely and completely abide

   3         by Plaintiff's requests and as such are subject to penalties of at least $750.00.

   4

   5   37.          WHEREFORE, Plaintiff prays for relief as set forth below.

   6

   7                                          Fifth Cause of Action

   8                                              (Defamation)

   9                                Against Defendants XPO and Mairana

  10                                        and Doe 1-100, inclusive.

  11

  12

  13   38.          Plaintiff hereby realleges, and Incorporates by reference as though set forth fully

  14         herein the allegations contained in Paragraphs I through 32. This cause of action is plead

  15         against Defendant XPO and Doe 1- 90, inclusive and Defendant Mairana and Doe 91 -100.

  16

  17   39.          During the course of plaintiffs employment and thereafter, Defendant XPO and

  18         Does I - 90, inclusive, and Defendant Mairana and Does 91 - I 00, inclusive, would tell

  19         vendors, customers, and colleagues that Mr. Ramirez was incompetent, inefficient and not

  20         able to perform his job duties and in his profession, unable to do his job, was causing losses

  21         to XPO and that he was insubordinate to his supervisors.

  22

  23   40.          When Defendants made the aforementioned communications, Defendants

  24         deliberately and intentionally communicated false and damaging statements.

  25

  26

  27                                 First Amended Complaint for Damages
  28                                                  9 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 21 of 37 Page ID #:33



   1 41.            In publishing these defamatory statements, Defendants knew that these allegations

   2         would seriously damage Plaintiff's reputation and his ability to earn a living. These

   3         statements were made, in part, because Defendants sought to justify the termination of

   4         Plaintiff so as to avoid paying Plaintiff his wages, including his earned wages, and because

   5         they sought to terminated Mr. Ramirez due to his advanced age and because he was

   6         approaching tenure where he would vest in benefits.

   7
   8 42.            These words were defamatory per se because they tend to injure plaintiff in their

   9         profession by imputing a general disqualification in those respects that the occupation

  10         peculiarly requires.

  11
  12 43.            As a proximate result of Defendants' conduct, plaintiff has suffered and continues to

  13         suffer substantial losses in earnings, and other employment and retirement benefits and have

  14         suffered and continue to suffer embarrassment, humiliation and mental anguish all to his

  15         damage in an amount according to proof.

  16
  17   44.          Defendants committed the acts alleged herein maliciously, fraudulently and

  18         oppressively, with the wrongful intention of injuring plaintiff, from an improper and evil

  19         motive amounting to despicable conduct, and in conscious disregard of plaintiff's rights.

  20         Plaintiff is thus entitled to recover punitive damages from defendants in an amount

  21         according to proof.

  22
  23   45.          WHEREFORE, Plaintiff prays for relief as set forth below.
  24
  25         WHEREFORE, Plaintiff David Ramirez prays that Judgment be entered in his favor and

  26
  27                                First Amended Complaint for Damages
  28                                                I 0 of II
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 22 of 37 Page ID #:34



       against Defendant XPO , as follows, for:

   2

   3   A.     For such genera l, special, compensatory and liquidated damages as may be appropri ate,

   4          including a ll damages alleged above in an amount of no less than $ 1,250,000.00;

   5   B.     For pre-judgment interest.

   6   c.     For costs of suit and attorneys' fees.

   7   D.     For punitive damages as permitted under California law.

   8   E.     For such other relief as the Court deems just and proper.

   9

  10

  11   Dated: May 8, 2020                    LAW OFFI~R!91'· GUTIERREZ
  12
                                                       By    ~ &~tz~~~~---
  13                                                   Sergio A. Gutierrez

  14                                                   Attorneys for Pla intiff

  15                                                   David Ramirez

  16

  17

  18

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  27                                  First Amended Complaint for Damages
  28                                                    II of II
       Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 23 of 37 Page ID #:35
                                                                                                                                                   POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY
    Sergio Gutierrez, 184850
    Law Firm
    3920 Prospect, Suite F
    Yorba Linda, CA 92886
          TELEPHONE NO.: 714-575-1111
     ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Los Angeles County
 111 N. Hill Street
 Los Angeles, CA 90012-3117
      PLAINTIFF/PETITIONER:              David Ramirez                                                CASE NUMBER:


                                                                                                      20STCV13253
 DEFENDANT/RESPONDENT:                   XPO Freight Logistics, Inc., et al.
                                                                                                      Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS                                       Ramirez v. XPO
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2. I served copies of:
                                                                                                                                   BY FAX
Amended Complaint, Summons,



3. a. Party served: XPO Freight Logistics, Inc.
    b. Person Served: Tricia Rosano - REGISTERED AGENT SOLUTIONS, INC. - Person Authorized to Accept Service of Process

4. Address where the party was served:              1220 S. Street , Suite 150
                                                    Sacramento, CA 95811
5. I served the party
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 05/15/2020                (2) at (time): 3:26PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




      d. on behalf of:

      XPO Freight Logistics, Inc.
      under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Brandon Lee Ortiz
   b. Address:     One Legal - P-000618-Sonoma
                                 1400 North McDowell Blvd, Ste 300
                                 Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 80.00
  e I am:
       (3) registered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 2012-37
            (iii) County: Sacramento
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     05/21/2020


                    Brandon Lee Ortiz
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev. Jan 1, 2007]                              PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 14707313
 Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 24 of 37 Page ID #:36
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
David Ramirez
DEFENDANT/RESPONDENT:
XPO Freight Logistics, Inc. et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              20STCV13253

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Plaintiff's Peremptory Challenge
to Judicial Officer (170.6) ...) of 04/16/2020 upon each party or counsel named below by placing the
document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Sergio A. Gutierrez
    Law Office of Sergio A Gutierrez
    18032 Lemon Drive
    #C122
    Yorba Linda, CA 92886




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 04/16/2020                                     By:   F. Rojas
                                                            Deputy Clerk




                                       CERTIFICATE OF MAILING
Electronically FILED by Superior Court of California, County of Los Angeles on 04/03/2020 04:31 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       20STCV13253
                  Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 25 of 37 Page ID #:37
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 26 of 37 Page ID #:38
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Electronically FILED by Superior Court of California, County of Los Angeles on 04/03/2020 04:31 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       20STCV13253
                   Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 30 of 37 Page ID #:42
                                                                                                 CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                               FOR COURT USE ONLY
                Sergio A. Gutierrez, Esq. (State Bar No. 184850)
                Law Offices of Sergio A. Gutierrez                                                                                     To keep other people from
                18032 Lemon Drive, C122, Yorba Linda, CA 92886                                                                        seeing what you entered on
                                                                                                                                      your form, please press the
                               714-575-1111
                    TELEPHONE NO.:                       FAX NO.: 714-575-1121
                                                                                                                                     Clear This Form button at the
                               Plaintiff David Ramirez
             ATTORNEY FOR (Name):
                                                                                                                                     end of the form when finished.
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
               STREET ADDRESS: 111 N Hill St,
                  MAILING ADDRESS:
                  CITY AND ZIP CODE:   Los Angeles, CA 90012
                      BRANCH NAME:     Central District - Stanley Mosk Courthouse
                CASE NAME:
                Ramirez v. XPO Freight Logistic et al.
                                                                                                                                  CASE NUMBER:
                  CIVIL CASE COVER SHEET                                         Complex Case Designation
             ✔      Unlimited         Limited
                    (Amount           (Amount                     Counter              Joinder
                                                                                                    JUDGE:
                    demanded          demanded is          Filed with first appearance by defendant
                    exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                         Items 1–6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
                 Auto Tort                                               Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                               Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400–3.403)
                        Uninsured motorist (46)                                 Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                       Other collections (09)                           Construction defect (10)
                 Damage/Wrongful Death) Tort                                    Insurance coverage (18)                          Mass tort (40)
                       Asbestos (04)                                           Other contract (37)                               Securities litigation (28)
                        Product liability (24)                           Real Property                                           Environmental/Toxic tort (30)
                        Medical malpractice (45)                               Eminent domain/Inverse                            Insurance coverage claims arising from the
                      Other PI/PD/WD (23)                                      condemnation (14)                                 above listed provisionally complex case
                                                                               Wrongful eviction (33)                            types (41)
                 Non-PI/PD/WD (Other) Tort
                        Business tort/unfair business practice (07)      Other real property (26)                        Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                                            Enforcement of judgment (20)
                        Defamation (13)                                  Commercial (31)                                 Miscellaneous Civil Complaint
                        Fraud (16)                                              Residential (32)                                 RICO (27)
                        Intellectual property (19)                              Drugs (38)                                       Other complaint (not specified above) (42)
                        Professional negligence (25)                    Judicial Review                                  Miscellaneous Civil Petition
                      Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
                                                                                                                                 Partnership and corporate governance (21)
                 Employment                                                     Petition re: arbitration award (11)
                                                                                                                                 Other petition (not specified above) (43)
                  ✔ Wrongful termination (36)                                   Writ of mandate (02)
                        Other employment (15)                                   Other judicial review (39)
           2. This case         is      ✔ is not      complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
              a.       Large number of separately represented parties        d.      Large number of witnesses
              b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
              c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision
           3.    Remedies sought (check all that apply): a. ✔ monetary b. ✔ nonmonetary; declaratory or injunctive relief                                               c. ✔ punitive
           4.    Number of causes of action (specify): 5
           5.    This case         is    ✔ is not    a class action suit.
           6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: April 3, 2020
          Sergio A. Gutierrez, Esq.
                                              (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                            NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
             •   File this cover sheet in addition to any cover sheet required by local court rule.
             •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
             •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                     Page 1 of 2
           Form Adopted for Mandatory Use                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
             Judicial Council of California
                                                                         CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev. July 1, 2007]                                                                                                                                    www.courtinfo.ca.gov
        Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 31 of 37 Page ID #:43
                                                                                                                                             CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                                 CASE TYPES AND EXAMPLES
Auto Tort                                              Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property                    Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                                 Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                                Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                                    or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                             Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                      Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                    Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                                 Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                       Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                              book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                              Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                      Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or                    Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                             complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                                   Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                                  Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                      Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                        Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                                     Other Contract Dispute                             Other Enforcement of Judgment
                                                       Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip                   Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                       Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD                  Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                                   above) (42)
                (e.g., assault, vandalism)                 Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                                Declaratory Relief Only
                                                                Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                              Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                               Quiet Title
                Emotional Distress                                                                                 Mechanics Lien
                                                                Other Real Property (not eminent
          Other PI/PD/WD                                                                                           Other Commercial Complaint
                                                                domain, landlord/tenant, or
                                                                                                                         Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                       foreclosure)
                                                                                                                   Other Civil Complaint
     Business Tort/Unfair Business                     Unlawful Detainer
                                                                                                                        (non-tort/non-complex)
         Practice (07)                                     Commercial (31)
                                                                                                           Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,                   Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                          Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                      drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                          report as Commercial or Residential)               above) (43)
           (13)                                        Judicial Review                                             Civil Harassment
     Fraud (16)                                            Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                            Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                          Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                      Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                         Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                                Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                              Writ–Other Limited Court Case                            Claim
Employment                                                          Review                                         Other Civil Petition
     Wrongful Termination (36)                             Other Judicial Review (39)
     Other Employment (15)                                      Review of Health Officer Order
                                                                Notice of Appeal–Labor
                                                                   Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                    Page 2 of 2
                                                            CIVIL CASE COVER SHEET
    For your protection and privacy, please press the Clear This Form
                 button after you have printed the form.                          Save This Form          Print This Form        Clear This Form
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 32 of 37 Page ID #:44

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                      Central District, Stanley Mosk Courthouse, Department 20

  20STCV13253                                                                         April 16, 2020
  DAVID RAMIREZ vs XPO FREIGHT LOGISTICS, INC., et al.                                    10:21 AM


  Judge: Honorable David J. Cowan                     CSR: None
  Judicial Assistant: F. Rojas                        ERM: None
  Courtroom Assistant: None                           Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Plaintiff's Peremptory Challenge to Judicial Officer (170.6)
  against Judge Richard Fruin reviewed by Judge David J. Cowan;

  The Court reviews the Peremptory Challenge filed by David Ramirez (Plaintiff) on 04/13/2020
  pursuant to Code of Civil Procedure section 170.6 and finds that it was timely filed, in proper
  format, and is accepted.

  Good cause appearing and on order of the Court, the above matter is reassigned to Judge
  Malcolm Mackey in Department 55 at the Stanley Mosk Courthouse for all further proceedings.

  If any appearing party has not yet exercised a peremptory challenge under Code of Civil
  Procedure section 170.6, peremptory challenges by them to the newly assigned judge must be
  timely filed within the 15 day period specified in Code of Civil Procedure section 170.6, with
  extensions of time pursuant to Code of Civil Procedure section 1013 if service is by mail.
  Previously non-appearing parties, if any, have a 15-day statutory period from first appearance to
  file a peremptory challenge (Government Code section 68616(1)).

  All future hearings in this department are advanced to this date and taken off calendar.

  Moving Party is to give notice to all interested parties.

  Certificate of Mailing is attached.




                                             Minute Order                                Page 1 of 1
       Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 33 of 37 Page ID #:45
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV13253

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Richard L. Fruin                   15




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       04/06/2020
    on _____________________________                                        R. Clifton
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 34 of 37 Page ID #:46
                         INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 35 of 37 Page ID #:47
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 David Ramirez
 DEFENDANT:
 XPO Freight Logistics, Inc. et al
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             20STCV13253
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             10/14/2020                8:30 AM                  55

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        05/08/2020
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Sergio A. Gutierrez
     18032 Lemon Drive
     #C122
     Yorba Linda, CA 92886                                                 Sherri R. Carter, Executive Officer / Clerk of Court

        05/08/2020
Dated: __________________                                                                                M. Kinney
                                                                                                     By ________________________
                                                                                                                 Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
 Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 36 of 37 Page ID #:48
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
David Ramirez
DEFENDANT/RESPONDENT:
XPO Freight Logistics, Inc. et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              20STCV13253

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Sergio A. Gutierrez
    Law Office of Sergio A Gutierrez
    18032 Lemon Drive
    #C122
    Yorba Linda, CA 92886




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 05/8/2020                                     By:   M. Kinney
                                                           Deputy Clerk




                                       CERTIFICATE OF MAILING
Case 2:20-cv-05333-SVW-KS Document 1-1 Filed 06/15/20 Page 37 of 37 Page ID #:49
